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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

   In re:
                                                                 Case No.: 20-18973-SMG
   GECKO PARKS, LLC

            Debtor-in-Possession.
                                         /

 DEBTOR IN POSSESSION’S APPLICATION FOR EMPLOYMENT OF THREE TWENTY-
   ONE CAPITAL PARTNERS, LLC TO REPRESENT DEBTOR IN AN ASSET SALE,
 MERGER, OR SALE OF EQUITY INTEREST OF DEBTOR, OR, IN THE ALTERNATIVE,
   AN EQUITY INVESTMENT IN THE DEBTOR EFFECTIVE AS OF AUGUST 20, 2020

        GECKO PARKS, LLC, the Debtor-In-Possession, files this Application for Employment of

Twenty-One Capital Partners, LLC to Represent Debtor in an Asset Sale, Merger, or Sale of Equity

Interest of Debtor or, in the Alternative, an Equity Investment in the Debtor Effective as of August 20,

2020, and respectfully requests the entry of an order of the Court authorizing the employment of Three

Twenty-One Capital Partners, LLC (“3-21”) effective as of August 20, 2020, to represent the Debtor in

this case and states:

            1.   On August 20, 2020, the Debtor filed a voluntary petition under Chapter 11 of the United

   States Bankruptcy Code.

            2.    The Debtor desires to employ 3-21 to sell all, or a portion of, the assets or securities

   associated with Debtor, in whole or in part, at the discretion of Client, via an asset sale, merger, sale

   of equity interest by Debtor or, in the alternative an equity investment in the Debtor (the

   “Transaction”).

            3.     The Debtor believes that 3-21 is qualified to represent the Debtor in the Transaction.

            4.     3-21 is a private investment bank and advisory firm providing Wall Street Quality

   Advisory and Investment Banking Services to the under-serviced lower-middle market and has
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executed or advised engagement with over $15 billion in transaction value.

       5.      3-21’s team is comprised for CFA’s, CPA’s, business owners and turnaround and

business crisis professionals that have experience in every facet of the business continuum, from

inception to exit.

       6.      The professional services 3-21 will provide are as follows:

               (a)    Work with Debtor to devise the best course of action to effectuate the desired

       outcome for the Debtor.

               (b)    Conduct due diligence on Debtor’s Business.

               (c)    Create a marketing plan.

               (d)    Create financial modeling to aid in the Transaction.

               (e)    Work with third party professionals and creditors.

               (f)    Prepare marketing materials, confidential information presentation and secure

       due diligence data room which will include information regarding the Business. (Debtor shall

       have final approval of all materials and their use and prior approval of all prospective

       purchasers given access to the data room).

               (g)    Endeavor to locate parties who may have an interest in a Transaction with the

       Debtor.

               (h)    Circulate materials, as appropriate and approved by Debtor, to facilitate a

       Transaction.

               (i)    Respond, provide information to, communicate and negotiate with and obtain

       offers from interested parties and make recommendations to Debtor as to whether an offer

       should be accepted.

               (j)    Communicate regularly with Debtor about the status of 3-21’s efforts with

       respect to marketing efforts.
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                (k)     Recommend to Debtor the proper method of handling any specific problems

        encountered with respect to the marketing of the Debtor.

                (l)     Perform related services necessary to maximize the proceeds to be realized for

        the Debtor.

                (m)     3-21 shall have no authority to bind Debtor to any agreements or offer.

        7.    To the best of the Debtor's knowledge, 3-21 has no connection with the creditors or other

parties in interest or their respective attorneys.

        8.      Debtor believes that 3-21 does not represent any interest adverse to the debtor.

        .        Attached to this motion is the proposed affidavit demonstrating 3-21 is a disinterested

as required by 11 U.S.C. §327(a) and a verified statement as required under Bankruptcy Rule 2014.

        The Debtor respectfully requests an order authorizing retention of Chad Van Horn, Esq., the

law firm of Van Horn Law Group, Inc. and its’ regular associates, on a general retainer, pursuant to

11 U.S.C. §§327 and 330.

        DATED: September 14, 2020                 Respectfully submitted:
                                                  GECKO PARKS, LLC


                                            By:
                                                John A. Duran, Jr.
                                           Its: Manager
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